
163 N.J. Super. 40 (1978)
394 A.2d 149
JAMES J. SHEERAN, COMMISSIONER OF INSURANCE OF THE STATE OF NEW JERSEY, PLAINTIFF-RESPONDENT,
v.
NATIONWIDE MUTUAL INSURANCE COMPANY, INC., AND NATIONWIDE FIRE INSURANCE COMPANY, INC., CORPORATIONS OF THE STATE OF OHIO, DEFENDANTS-APPELLANTS.
Superior Court of New Jersey, Appellate Division.
Argued October 5, 1978.
Decided October 25, 1978.
Before Judges HALPERN, ARD and ANTELL.
*41 Mr. Eugene M. Haring argued the cause for appellants (Messrs. McCarter &amp; English, attorneys; Mr. Richard D. Quay, on the brief).
Mr. William L. Dill, Jr. argued the cause for amici curiae National Association of Independent Insurers (Messrs. Stryker, Tams &amp; Dill, attorneys; Mr. Richard R. Spencer, Jr., of counsel; Mr. Charles H. Friedrich on the brief).
Mr. Peter D. Pizzuto, Deputy Attorney General, argued the cause for respondent (Mr. John J. Degnan, Attorney General of New Jersey, attorney; Mr. Stephen Skillman, Assistant Attorney General, of counsel; Mr. Wesley S. Caldwell, III, Deputy Attorney General, on the brief).
Mr. Jasper J. Jackson, Assistant Deputy Public Advocate, argued the cause for amici curiae New Jersey Department of the Public Advocate (Mr. Stanley C. Van Ness, Public Advocate of New Jersey, attorney).
PER CURIAM.
The judgment is affirmed substantially for the reasons stated in Judge Greenberg's written opinion of April 20, 1978 which is reported at 159 N.J. Super. 417 (Ch. Div. 1978).
